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Re: Meet and Confer: Fed R. Civ. P. 30(b)(6) notice: In Re: New York City Policing During Summer 2020 Demonstrations
(20-cv-8924)

Morril, Gregory <Gregory.Morril@ag.ny.gov>

Fri 7/9/2021 2:02 PM

To: Jacobs, Elissa (Law) <ejacobs@law.nyc.gov>

Cc: AG-NYPDLitigation <AG.NYPDLitigation@ag.ny.gov>; Andrew Stoll <astoll@stollglickman.com>; Goykadosh, Brachah (Law) <bgoykado@law.nyc.gov>; Weiss, Dara (Law)

<daweiss@law.nyc.gov>; Payne Litigation Team <PayneLitigationTeam@nyclu.org>; sierrateam@moskovitzlaw.com <sierrateam@moskovitzlaw.com>; sow-legal@blhny.com
<sow-legal@blhny.com>; wood@kliflaw.com <wood@kllflaw.com>

Dear Elissa:

Thank you for meeting with us this morning regarding Plaintiffs’ Fed. R. Civ. P. 30(b)(6) deposition notice, dated July 2, 2021. To confirm what we discussed
and agreed to:

© Defendants do not object to the noticed 30(b)(6) deposition occurring at some date but do object to the noticed date of July 16. Plaintiffs agreed to
an adjournment of that date.

© You agreed that it would be efficient for some of the noticed deposition topics to occur sooner rather than later.

e Our priority topics in the 30(b)(6) notice are Topics 4 (document maintenance and retention policies), 5 (ESI), and 6 (organizational structure). We
would like the depositions addressing these priority topics to occur the week of August 2 with the remainder of the noticed topics covered the
following week.

e You said that you thought Defendants should be able to schedule the first 30(b)(6) deposition for mid-August and that you would check witness
availability and let us know by Wednesday or Thursday of next week (July 14 or 15) whether Defendants could confirm a mid-August date.
Defendants may require additional discussions regarding the scope of the notices.

e We also asked for you to provide us with the names of the people Defendants would be designating for each 30(b)(6) deposition topic so that we
could determine if they might also be fact witnesses. You agreed to endeavor to provide that information by July 14 or 15.

e Separately, we asked when Defendants would provide additional dates for fact witness depositions that Plaintiffs have already noticed. Under Judge
Gorenstein’s order this information was due yesterday. You said that Defendants would provide the information today.

Please let me know if you disagree with my characterization of any the above.

Thanks,

Greg Morril | Assistant Attorney General

New York State Office of the Attorney General
Public Integrity Bureau

28 Liberty Street | New York, NY 10005

Office: (212) 416-6020 | Mobile: (917) 344-9323

From: Jacobs, Elissa (Law) <ejacobs@law.nyc.gov>

Date: Thursday, July 8, 2021 at 2:01 PM

To: Morril, Gregory <Gregory.Morril@ag.ny.gov>

Cc: AG-NYPDLitigation <AG.NYPDLitigation@ag.ny.gov>, Andrew Stoll <astoll@stollglickman.com>, Goykadosh, Brachah (Law)
<bgoykado@law.nyc.gov>, Weiss, Dara (Law) <daweiss@law.nyc.gov>, Payne Litigation Team <PayneLitigationTeam@nyclu.org>,
sierrateam@moskovitzlaw.com <sierrateam@moskovitzlaw.com>, sow-legal@blhny.com <sow-legal@blhny.com>, wood @kilflaw.com
<wood@kIlflaw.com>

Subject: Re: Meet and Confer: Fed R. Civ. P. 30(b)(6) notice: In Re: New York City Policing During Summer 2020 Demonstrations (20-cv-8924)

Thank you, and | appreciate everyone’s flexibility.
Sent from my iPhone

> On Jul 8, 2021, at 9:58 AM, Morril, Gregory <Gregory.Morril@ag.ny.gov> wrote:

>

> Rescheduled for tomorrow at 10:30. Thanks.

>

> From: Jacobs, Elissa (Law) <ejacobs@law.nyc.gov>

> Date: Thursday, July 8, 2021 at 8:43 AM

> To: Morril, Gregory <Gregory.Morril@ag.ny.gov>

> Cc: Weiss, Dara (Law) <daweiss@law.nyc.gov>, Goykadosh, Brachah (Law) <bgoykado@law.nyc.gov>, AG-NYPDLitigation <AG.NYPDLitigation@ag.ny.gov>,
sow-legal@blhny.com <sow-legal@blhny.com>, Payne Litigation Team <PayneLitigationTeam @nyclu.org>, wood@kliflaw.com <wood@kilflaw.com>,
sierrateam @moskovitzlaw.com <sierrateam@moskovitzlaw.com>, Andrew Stoll <astoll@stollglickman.com>

> Subject: Re: Meet and Confer: Fed R. Civ. P. 30(b)(6) notice: In Re: New York City Policing During Summer 2020 Demonstrations (20-cv-8924)

>

> Greg,

>

> Unfortunately, I’ve had a minor family issue come up that means | cannot meet until later today. Are you available this afternoon after 1, or tomorrow
between 10:30-11:30?
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>

> Sent from my iPhone

>

>> On Jul 7, 2021, at 9:32 AM, Morril, Gregory <Gregory.Morril@ag.ny.gov> wrote:
>> Yes, apologies -- it has been updated. Scheduled for tomorrow at 9:30.

>>

>> Greg Morril | Assistant Attorney General

>> New York State Office of the Attorney General

>> Public Integrity Bureau

>> 28 Liberty Street | New York, NY 10005

>> Office: (212) 416-6020 | Mobile: (917) 344-9323

>>

>> -----Original Message-----

>> From: Jacobs, Elissa (Law) <ejacobs@law.nyc.gov>

>> Sent: Wednesday, July 7, 2021 9:29 AM

>> To: Morril, Gregory <Gregory.Morril@ag.ny.gov>

>> Cc: Weiss, Dara (Law) <daweiss@law.nyc.gov>; Goykadosh, Brachah (Law) <bgoykado@law.nyc.gov>; AG-NYPDLitigation
<AG.NYPDLitigation@ag.ny.gov>; sow-legal@blhny.com; Payne Litigation Team <PayneLitigationTeam@nyclu.org>; wood@kllflaw.com;
sierrateam@moskovitzlaw.com; Andrew Stoll <astoll@stollglickman.com>

>> Subject: Re: Meet and Confer: Fed R. Civ. P. 30(b)(6) notice: In Re: New York City Policing During Summer 2020 Demonstrations (20-cv-8924)
>>

>> [EXTERNAL]

>>

>> The invite you sent is for today. | assume that was a mistake?

>>

>> Sent from my iPhone

>>

>>>> On Jul 7, 2021, at 9:28 AM, Morril, Gregory <Gregory.Morril@ag.ny.gov> wrote:
>>> Thanks, Elissa. Let’s meet tomorrow at 9:30. WebEx link below.

>>>

>>>

>>> From: Jacobs, Elissa (Law)

>>> <ejacobs@law.nyc.gov<mailto:ejacobs@law.nyc.gov>>

>>> Sent: Tuesday, July 6, 2021 3:02 PM

>>> To: Morril, Gregory

>>> <Gregory.Morril@ag.ny.gov<mailto:Gregory.Morril@ag.ny.gov>>

>>> Cc: Weiss, Dara (Law)

>>> <daweiss@law.nyc.gov<mailto:daweiss@law.nyc.gov>>; Goykadosh, Brachah
>>> (Law) <bgoykado@law.nyc.gov<mailto:bgoykado@law.nyc.gov>>;

>>> AG-NYPDLitigation

>>> <AG.NYPDLitigation@ag.ny.gov<mailto:AG.NYPDLitigation@ag.ny.gov>>;

>>> sow-legal@blhny.com<mailto:sow-legal@blhny.com>; Payne Litigation Team
>>> <PayneLitigationTeam @nyclu.org<mailto:PayneLitigationTeam@nyclu.org>>;
>>> wood @kIlflaw.com<mailto:wood@kIlflaw.com>;

>>> sierrateam @ moskovitzlaw.com<mailto:sierrateam@ moskovitzlaw.com>;

>>> Andrew Stoll

>>> <astoll@stollglickman.com<mailto:astoll@stollglickman.com>>

>>> Subject: Re: Fed R. Civ. P. 30(b)(6) notice: In Re: New York City

>>> Policing During Summer 2020 Demonstrations {20-cv-8924)

>>>

>>> Thank you for the response.

>>>

>>> While we did agree to that, and are not asking that the 30(b)6 witnesses be held until the end, we do not believe this is the proper time to begin.
>>>

>>> | am available tomorrow morning before 10 am, or Thursday morning before 1.
>>>

>>> Sent from my iPhone

>>>

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>>> -- Do not delete or change any of the following text. --

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>>> When it’s time, join your Webex meeting here.

>>>

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>>> Join

>>> meeting<https://nyoag.webex.com/nyoag/j.php?MTID=md91301e29ffaf6e43a5c
>>> f1cf5033c994>

>>>

>>>

>>> More ways to join:

>>>

>>> Join from the meeting link

>>> https://nyoag.webex.com/nyoag/j.php?MTID=md91301e29ffaf6e43a5cficf5033
>>> c994

>>>

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>>>

>>> Join by meeting number

>>> Meeting number (access code): 1619 55 4711 Meeting password:

>>> eBQJJHgCX36

>>>

>>> Tap to join from a mobile device {attendees only)

>>> +1-855-797-9485,,1619554711##<tel:%2B1-855-797-9485,,*01*1619554711%23
>>> +%23*01*> US Toll free

>>>

>>> Join by phone

>>> +1-855-797-9485 US Toll free

>>> Global call-in

>>> numbers<https://nyoag.webex.com/nyoag/globalcallin.pbhp?MTID=mf77853e78
>>> 1069e1f1022ff254688768b> | Toll-free calling

>>> restrictions<https://www.webex.com/pdf/tollfree_restrictions.pdf>

>>>

>>> Join from a video system or application Dial

>>> 1619554711 @nyoag.webex.com<sip:1619554711@nyoag.webex.com>

>>> You can also dial 173.243.2.68 and enter your meeting number.

>>>

>>>

>>>

>>>

>>>

>>> Join using Microsoft Lync or Microsoft Skype for Business Dial

>>> 1619554711.nyoag@lync.webex.com<sip:1619554711.nyoag@lync.webex.com>
>>>

>>>

>>>

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>>> If you are a host, click here<https://nyoag.webex.com/nyoag/j.php?MTID=m0848d64d076afc2e435b918394fb86c4> to view host information.
>>>

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>>> Need help? Go to https://help.webex.com

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>>> IMPORTANT NOTICE: This e-mail, including any attachments, may be confidential, privileged or otherwise legally protected. It is intended only for the
addressee. If you received this e-mail in error or from someone who was not authorized to send it to you, do not disseminate, copy or otherwise use this e-
mail or its attachments. Please notify the sender immediately by reply e-mail and delete the e-mail from your system.
